    Case 3:19-bk-30822
  FILED                              Doc 95      Filed 08/21/19 Entered 08/22/19 14:56:17
                                                 Document     Page 1 of 2
                                                                                                            RECEIVED
                                                                                                            Desc Main

    AUG 2 1 2019
                                         UNITED STATES BANKRUPTCY COURT                                          AUG 2"1 2019
     RICHARD JONES                     SOUTHERN DISTRICT OF OHIO (DAYTON)
                                                                                                      US
                                                                                                              c1'~tARD
                                                                                                                  JONES
                                                                                                              KOFCOURT
    CLERK OF COURT
U.S. BANKRDP'Rw. COURT                                           *                          CASE NO. 19~3·o1~KRUPTCY COURT

         T AGNETICS INC.                                         *                          CHAPTER 7

         INVOLUNTARY DEBTOR                                      *

                                JOINT STATUS REPORT REGARDING SETTLEMENT

                                FROM: Jonathan Hager, Ronald Earley, Kenneth Kayser

         The parties currently have not agreed on the details of the settlement agreement between Tagnetics and
         Kayser, Earley, Hager. A draft settlement agreement was received from Tagnetics counsel on Wednesday
         August 14 at 6 pm. Kayser, Earley, Hager proceeded to review the draft settlement agreement including
         seeking legal counsel review. The settlement agreement included terms that had not been agreed to during
         the closing hours prior to the scheduled court case. Kayser, Earley, Hager have conveyed the concerns to
         Tagnetics counsel whose has stated these were the terms that were agreed.



         Settlement discussion began with an email from Kayser on July 20 with 3 main elements; a) a cash
         settlement, b) a mutual release of issues arising from employment and the bankruptcy case, and a
         requirement that the settlement would not affect other independent agreements Earley and Kayser had
         with Tagnetics whose terms are tied to a future sale or successful liquidation event of Tagnetics.
         Tagnetics only negotiated the cash payment terms including discussion about disposition of missed
         settlement payments. A discussion was held about mutual releases since Tagnetics had requested only a
         partial release for Tagnetics. The final correspondence on Friday July 26 clarified the terms of the cash
         settlement terms and the mutual release.



         The draft settlement agreement extended beyond those terms the parties had agreed including seeking to
         eliminate the independent prior agreements between Tagnetics and Kayser and Tagnetics and Earley.
         Additionally, the draft agreement did not include any repercussions to Tagnetics if payments are not made
         since it requested a full release from the bankruptcy case with prejudice and called out releases to
         Tagnetics for any breech of any agreements.



         Kayser, Earley and Hager are interested in settling this case allowing Tagnetics to continue toward
         success, meeting its obligations and creating value for its shareholders. We expect settlement terms that
         reflect exactly the verbal agreement reached on July 26, 2019 in order to convince us to agree to
         cancellation of the trial. Our filing of the involuntary bankruptcy petition was addressing the past due
         salary Kayser, Earley and Hager were owed as related to their employment with Tagnetics. We expect the
         settlement agreement to reflect the terms we agreed to.



         Since the flurry of activity on July 26, there has been little activity to get this settled . We do not believe
         there has been a good faith effort by Tagnetics to get this settled, nor do we believe without the pressure
         of a pending trial date that this will be settled. There is no acceptable settlement agreement at this time.
         We respectfully request that a new trial date be set.
Case 3:19-bk-30822        Doc 95   Filed 08/21/19 Entered 08/22/19 14:56:17   Desc Main
                                   Document     Page 2 of 2

 Isl Jonathan Hager 8121/2019
 Isl Kenneth W Kayser 8121 12019
 Isl Ronald Earley 8121 12019
